Case 3:17-cv-00072-NKM-JCH Document 1028-5 Filed 08/24/21 Page 1 of 2 Pageid#:
                                  17379




                           Exhibit E
                                                                                 NiggKike Bar Mitzvah        #charlottesville-contact
                                                                                 #charlottesville            Mayor of Fashtown#8055 2017-07-27
                                                                                 #effortposting
Case 3:17-cv-00072-NKM-JCH Document 1028-5 Filed 08/24/21 Page 2 of 2 Pageid#:




                                                                                                             Hey @Azzmador#6970 if i run into you at Cville lemme get a selfie nigga
                                                                                 #food-posting
                                                                                 #general
                                                                                 #general_4_vetted
                                                                                 #Gun Posting Goes Here      Azzmador#6970 2017-07-27
                                                                                 #gun-posting-goes-here      If you take a pic with me Kessler will hate you lol.
                                                                                 #rules
                                                                                 #share_contact_info
                                                                                 #V.I.P. wiff da cris(tal)
                                                                                 #voice                      Mayor of Fashtown#8055 2017-07-27
                                                                                 #Yall Gotz a Ghetto Pass    Well i dont know him so thats okay with me. But i actually listen to your show and you used to follow
                                                                                 #1-on-1 Private Chat        muh twitter
                                                                                 #AFK
                                                                                 #Black Mouths Blabber
                                                                                 #Black Mouths Blather
                                                                                 #Broom Closet               Mayor of Fashtown#8055 2017-07-27
                                                                                 #charlottesville-contact    So thats where my priorities are
                                                                                 #Charlottesville-Contact
                                                                                 #music
                                                                                 #oven                       Azzmador#6970 2017-07-27
                                                                                 #recruiting
                                                                                                             @Mayor of Fashtown#8055 sure bro, come see me & get a pic
                                  17380




                                                                                 #Vidya Posting Goes Here
                                                                                                             Azzmador#6970 2017-07-27
                                                                                                             Myself & some of the other Daily Stormer guys are gonna be out front with a big bully squad hogging all
                                                                                                             the attention & gassing all the kikes.
                                                                                                             Azzmador#6970 2017-07-27
                                                                                                             So we'll be easy to find �
